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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

 CASE NO.       22-cr-00113-CMA-GPG

 UNITED STATES OF AMERICA,

                Plaintiff,

 v.

 DEBRA CAMPBELL,

             Defendant.
 _____________________________________________________________________________

                            NOTICE OF APPEARANCE
 _____________________________________________________________________________

        The Office of the Federal Public Defender, by and through undersigned counsel, hereby

 enters its appearance in the above captioned case.



                                              Respectfully submitted,

                                              VIRGINIA L. GRADY
                                              Federal Public Defender



                                              s/ Mary V. Butterton
                                              MARY V. BUTTERTON
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 13, 2022, I filed the foregoing with the Clerk of Court via
 email and copied the following email addresses:

        Pegeen Rhyne, Assistant United States Attorney
        Email: pegeen.rhyne@usdoj.gov

 and I hereby certify that I have mailed or served the document or paper to the following non
 CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by the non-participant’s
 name:

        Debra Campbell (via U.S. Mail)



                                               s/ Mary V. Butterton
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